EXHIBIT A
PTAB Trial Statistics
FY21 End of Year Outcome Roundup
IPR, PGR, CBM

Patent Trial and Appeal Board
Fiscal Year 2021
Petitions filed by trial type
(FY21: Oct. 1, 2020 to Sept. 30, 2021)




                                    IPR
                                   1,308         1,401                       PGR
                                    93%          Total                        93
                                                                             7%




Trial types include Inter Partes Review (IPR), Post Grant Review (PGR), and Covered
Business Method (CBM). The Office will not consider a CBM petition filed on or after
September 16, 2020.                                                                    3
Petitions filed by technology
(FY21: Oct. 1, 2020 to Sept. 30, 2021)


                                       Mechanical &
                                      Business Method
                                            316         Chemical
                                            23%            79
                                                          6%
                                      1,401              Bio/Pharma
                                      Total                   99
                                                             7%
                                                        Design
                            Electrical/Computer
                                                          3
                                     904
                                                         0%
                                    65%




                                                                      4
Petitions filed by month
(Sept. 2021 and Previous 12 Months: Sept. 1, 2020 to Sept. 30, 2021)

                                                                                             (1,308 IPRs in FY21)

   151
           119                                            116      120                  122       122
                                 108             114                                                                  111
                       103                                                    102                           97
                                        74


 Sep-20                                                    IPR                                                       Sep-21
                             (93 PGRs in FY21)                                                (0 CBMs in FY21)
              16       15
  5   6            9         9       5 9     7   8                8
          4                      2                   3                0   0    0    0    0    0   0     0   0    0   0   0

Sep-20                  PGR                      Sep-21         Sep-20                   CBM                          Sep-21


 The Office will not consider a CBM petition filed on or after September 16, 2020.
                                                                                                                         5
 Institution rates by petition
 (FY17 to FY21: Oct. 1, 2016 to Sept. 30, 2021)
                                                        Instituted
                                                        Denied
by Petition
        63%                            63%
                       60%
                                                                      59%
     954                                           56%
                    859              859
                                                  648                702
           558            577
                                           510          507                498




      FY17            FY18            FY19         FY20               FY21



                                                                                 6
 Institution rates by patent
 (FY17 to FY21: Oct. 1, 2016 to Sept. 30, 2021)
                                                        Instituted
by Patent
       69%                             70%              Denied

                       67%
                                                                      65%
                                                   64%
    708              674             667                             645
                                                  567

          314              338                          315                341
                                           290




      FY17            FY18            FY19         FY20               FY21



                                                                                 7
 Institution rates by patent and by petition
 (FY17 to FY21: Oct. 1, 2016 to Sept. 30, 2021)

by Patent
       69%                             70%
                       67%
                                                         65%
                                                  64%
        63%                            63%
by Petition            60%
                                                         59%
                                                  56%




       FY17           FY18            FY19        FY20   FY21



                                                                8
Institution rates by technology
(FY21: Oct. 1, 2020 to Sept. 30, 2021)


        Bio/Pharma                                                             58% (42 of 72)


            Chemical                                                     51% (46 of 90)


               Design                                                                           80% (4 of 5)


Electrical/Computer                                                              60% (429 of 714)

   Mechanical &
                                                                              57% (181 of 319)
  Business Method

Institution rate for each technology is calculated by dividing petitions instituted by
decisions on institution (i.e., petitions instituted plus petitions denied). The outcomes
of decisions on institution responsive to requests for rehearing are excluded.                         9
 Settlements
 (FY17 to FY21: Oct. 1, 2016 to Sept. 30, 2021)


                                                                                                32%
 Settlement Rate                                         31%
                26%                 25%
                                                         502                 22%
Settlements     436                                                                             465
                                     402
 Post-                                                   243                  309               192
                187
 Institution                         202
                                                                              146
 Pre-
                249                  200                 259                                    273
 Institution                                                                  163

                FY17                FY18                 FY19                FY20               FY21

  Settlement rate is calculated by dividing total settlements by concluded proceedings in
  each fiscal year (i.e., denied institution, settled, dismissed, requested adverse judgment,
  and final written decision), excluding joined cases.                                                 10
Outcomes by petition
(FY21: Oct. 1, 2020 to Sept. 30, 2021)




FWD patentability or unpatentability reported with respect to the claims at issue in the
FWD. Joined cases are excluded.
                                                                                           11
Outcomes by patent
(FY21: Oct. 1, 2020 to Sept. 30, 2021)




FWD patentability or unpatentability reported with respect to the claims at issue in the
FWD. “Mixed Outcome” is shown for patents receiving more than one type of outcome
from the list of: denied, settled, dismissed, and/or req. adverse judgement only. A patent   12
is listed in a FWD category if it ever received a FWD, regardless of other outcomes.
Outcomes by claim challenged
(FY21: Oct. 1, 2020 to Sept. 30, 2021)




                                         13
Claim outcomes
(FY21: Oct. 1, 2020 to Sept. 30, 2021)




                                         ”No DI” and “No FWD” means
                                         the claim was challenged but not
                                         addressed in a DI/FWD, e.g., due
                                         to settlement.

                                         16% of challenged claims and 38%
                                         of instituted claims were found
                                         unpatentable by a preponderance
                                         of the evidence in FY21.




                                                                     14
All patents
(FY21: Oct. 1, 2020 to Sept. 30, 2021)




The area inside each circle is scaled to the number of patents in the category.
                                                                                  15
